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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS – CONNECTICUT and MAKE
 THE ROAD NEW YORK,

                    Plaintiffs,                      Civil Action No.
                                                     3:17-cv-1061-RMS
                        v.

 U.S. CITIZENSHIP AND IMMIGRATION                    [PROPOSED]
 SERVICES, U.S. CUSTOMS AND BORDER                   ORDER
 PROTECTION, and U.S. DEPARTMENT OF
 STATE,

                   Defendants.


                                    [PROPOSED] ORDER

       Pursuant to this Court’s Minute Order of January 14, 2022, the parties provide the

following proposed scheduling order.

          1. On or before January 28, 2022, Defendants U.S. Customs and Border Protection

              (“CBP”) and U.S. Citizenship and Immigration Services (“USCIS”) will complete

              their re-review of the documents identified by Plaintiffs. See ECF No. 183.

          2. On or before March 25, 2022, Defendant U.S. Department of State (“State”) will

              provide to Plaintiffs a draft Vaughn index comprised of all fully-withheld

              documents.

          3. On or before April 28, 2022, State will provide to Plaintiffs a draft Vaughn index

              comprised of all documents containing at least one fully-withheld page, as well as

              all partially-redacted documents identified by Plaintiffs.

          4. On or before May 12, 2022, Plaintiffs will provide to State a list of documents for

              State to re-review in an effort to reach settlement.
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           5. On or before May 26, 2022, State will propose a timeline for the completion of its

              re-review of documents.



IT IS SO ORDERED.




Date: _________________             _____________________________________
                                    HONORABLE ROBERT M. SPECTOR
                                    UNITED STATES MAGISTRATE JUDGE




Respectfully submitted this 20th day of January, 2022,


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